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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


THE STATE OF GEORGIA

                                                   CIVIL ACTION FILE
v.
                                                   No. 1:23-CV-03621-SCJ
MARK RANDALL MEADOWS,
                                              RE: NOTICE OF REMOVAL OF
                                              FULTON COUNTY SUPERIOR
     Defendant.                                COURT INDICTMENT NO.
                                                      23SC188947


                                       ORDER

       This matter appears before the Court on the Motion for Leave to File Brief

for Former Judges, Prosecutors, and State and Federal Executive Officials as

Amici Curiae in Support of Remand. Doc. No. [35]. If any party opposes the Court

granting leave, said Party shall file an opposition brief by 3:00 P.M. on FRIDAY,

AUGUST 25, 2023.
                              24th
       IT IS SO ORDERED this ________ day of August, 2023.



                                      ________________________________
                                      HONORABLE STEVE C. JONES
                                      UNITED STATES DISTRICT JUDGE
